            Case 1:16-cv-01609-ABJ Document 23 Filed 04/24/18 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
BRENNAN CENTER FOR JUSTICE,                      )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )           Civil Action No. 16-1609 (ABJ)
                                                 )
DEPARTMENT OF HOMELAND                           )
SECURITY,                                        )
                                                 )
               Defendant.                        )
                                                 )

                               STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Brennan Center for

Justice (“Plaintiff”) and Defendant Department of Homeland Security hereby stipulate to the

dismissal of all claims in this action with prejudice, with the exception of Plaintiff’s claim for

attorneys’ fees and costs.

Dated: April 24, 2018                        Respectfully submitted,

 /s/ David L. Sobel                         JESSIE K. LIU, D.C. Bar No. 472845
DAVID L. SOBEL,                             United States Attorney
DC Bar No. 360418
5335 Wisconsin Avenue, N.W.                 DANIEL F. VAN HORN, D.C. Bar No. 924092
Suite 640                                   Chief, Civil Division
Washington, D.C. 20015
(202) 246-6180                              /s/ Melanie D. Hendry
sobel@att.net                               MELANIE D. HENDRY
                                            Assistant United States Attorney
Counsel for Plaintiff                       555 Fourth Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-2510
                                            melanie.hendry2@usdoj.gov

                                            Counsel for Defendant
